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                       ANTIQUITIES MANAGEMENT AGREEMENT

       This Antiquities Management Agreement ("Agreement"), dated 20 March 2012, is
entered into by and between THE INTERNATIONAL GROUP FOR HISTORIC
AIRCRAFT RECOVERY, located at 2812 Fawkes Drive, Wilmington, Delaware 19808 United
States of America ("TIGHAR") and the GOVERNMENT OF THE REPUBLIC OF
KIRIBATI, a sovereign democratic republic ("Kiribati"), with reference to the following facts:

                                           REOTALS

  i.    Kiribati is a duly constituted sovereign democratic republic that is obliged, under national
        and international law, to preserve its cultural heritage, including artefacts and locations
        within its territorial boundaries that are of historical, archaeological and/or cultural
        significance.

 ii.    Kiribati and the United States of America entered into, a Treaty of Friendship and
        Territorial Sovereignty dated 20 September 1979, the purpose of which is, in part, to
        maintain the bonds of peace and friendship that exist between the people of the United
        States and the people of Kiribati. The Treaty encourages cooperation between the two
        countries to protectthe unique natural and cultural resources of Kiribati, and obliges the
        two countries to encourage and facilitate scientific research activities and cultural
        exchanges, for their mutual benefit.

 iii.   TIGHAR is a non-profit aviation historical foundation organised under the laws of the
        United States of America, tax-exempt under section 501(c)(3) of the United States
        Internal Revenue Code.      Since 1988, TIGHAR has been using historical research,
        archaeological investigation, artefact analysis and scientific study to determine the fate of
        Amelia Earhart andher navigator Frederick Noonan andlocate wreckage of the Lockheed
        Model IDE airplane Amelia Earhart flew in a failed 1937 bid to circumnavigate the globe.
        TIGHAR is testing the hypothesis that Amelia Earhart and Frederick Noonan landed on
        or near Nikumaroro, an atoll in the Phoenix group of islands in Kiribati.

 iv.    The parties acknowledge that TIGHAR's scientific research activities mutually benefit
        both the United States and Kiribati, encourage and facilitate cultural exchange and are of
        major historical significance for boththe United States andKiribati.

 V.     Kiribati has worked closely with and provided valuable assistance to TIGHAR as it
        conducted research within Kiribati on past expeditions. Likewise, TIGHAR has made
        research available to and cooperated fully with Kiribati.

 vi.    TIGHAR has developed a body of evidence supporting its hypothesis that AmeUa Earhart
        and/or Frederick Noonan perished in Kiribati in 1937, but TIGHAR has not yet located
        conclusive evidence to that effect. Nevertheless, in light of the expertise developed by
        TIGHAR since 1988, the aforementioned Treaty, TIGHAR's track record of compHance
        with and respect for Kiribati law and cultural resources, and TIGHAR's and Kiribati's


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         shared desire to protect Kiribati's cultural heritage, the parties wish to continue
         cooperating with one another, expand TIGHAR's responsibilities as set forth below and
         formalise their relationship by this Agreement.

vii.     Nikumaroro and the other islands of the Phoenix group are located within the Phoenix
         Islands Protected Area (PIPA), one of the largest marine protected areas in the world.
         The PIPA was inscribed on the World Heritage List in August 2010, and Kiribati is
         obliged to ensure that all activities within the PIPA are conducted with due regard for the
         islands' environmental significance.

                                           AGREEMENT

NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
is acknowledged,TIGHAR and Kiribati agree as follows:

1.      Term.

        a.   This Agreement shall be for a period of ten (10) years from the date hereof unless
             otherwise terminated in accordance with the terms contained herein.

        b.   TIGHAR shallhavethe option to extend the term of this Agreement for an additional
             five (5) years from the date of expiration of the initial term. TIGHAR shall exercise
             said option by providing Kiribati with ninety (90) days' prior written notice as
             outlined herein.

        c.   Further extensions of this Agreement may be mutually agreed to by the parties and
             documented by a writteninstrument signed by both parties.

2.      Exclusive licence.

        a.   So long as this Agreement is in effect, and subject to compliance with the terms of
             this Agreement, Kiribati hereby grants and TIGHAR accepts anexclusive licence and
             right to search for, study, recover and preserve artefacts, including plane parts or
             wreckage, bones, personal effects or any other items, relating to or which tend to
             suggest the presence of Amelia Earhart and/or Frederick Noonan within theterritorial
             boundaries ofthe Republic of Kiribati.

        b.   TIGHAR's rights under this licence may be exercised directly by TIGHAR or in
             conjimction with subject-matter experts or third parties whom TIGHAR has
             determined possess the appropriate skill or equipment necessary to further the
             objective of thi.s licence.

        c.   Kiribati warrants that it has not granted, and agrees that it will not grant, any similar
             rights to any third party. Where, after the entry into force of this Agreement, any
             third party contacts or approaches Kiribati seeking permission to search or enter
             Kiribati for a purpose outlined herein, Kiribati will refer the proposal to TIGHAR,

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            who will, at its own cost and expense, communicate with the third party and assess
            the proposal. Following such assessment, TIGHAR will recommend to Kiribati that
            it: allow the proposed activity; allow the proposed activity under certain stated
            conditions; or prohibit the proposed activity. Kiribati will then take TIGHAR's
            recommendation into consideration in deciding whether or not to allow the proposed
            activity.

3.     Artefact Ownership.

       a.   Unless otherwise agreed to herein, the parties acknowledge that by virtue of its
            presence inside Kiribati and under appUcable Kiribati law, Kiribati owns and has all
            legal right to possess Amelia Earhart's plane, wreckage or parts thereof, and any
            artefacts recovered duringpast and futureTIGHARexpeditions within Kiribati.

       b.   Unless the parties agree otherwise, upon termination of or expiration of this
            Agreement all artefacts removed firom Kiribati shall be returned to Kiribati at
            TIGHAR's expense, or displayed or stored elsewhere at Kiribati's discretion and
            expense.

4.     Tntellectual Property. TIGHAR shall own and retain exclusive worldwide right in
       perpetuity to aU photographs, journals, records, video and sound recordings,
       documentation, research papers, presentations, conespbndence, notes, analyses,
       compilations or other materials generated by TIGHAR, its members, agents or authorised
       third parties in the course of conducting expeditions or other work performed to prove its
       hypothesis orpursuant to this Agreement, including past expeditions, or any other activity
       undertakenby TIGHAR pursuant to this Agreement.

5.     Human Remains/Personal Effects.           Where artefacts recovered by TIGHAR can be
       conclusively identified as personal effects belonging to or human remains of
       Amelia Earhart or Frederick Noonan, the parties agree that TIGHAR shall use reasonable
       efforts to locate and return such effects or remains to the respective next ofkin.

6.     Removal of Artefacts from Kiribati.

       a.    Kiribati consents to the removal of artefacts firom Kiribati by TIGHAR only for the
             following puiposes:
                 i.    analysis;
                ii.    study;
               iii.    testing;
               iv.     preservation;
                V.     display; and
               vi.     return under Article 5.



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      b.     Artefacts shall be removed, collected, stored and displayed in such a manner that they
             are preserved. TIGHAR shall not cause any unnecessary harm to the environment in
             the course of artefact retrieval.

      c.     TIGHAR shall provide Kiribati with a written summary of the artefacts removed,
             date of removal, present location and summary of any tests performed in respect of
             each artefact. This summary shall be updated by TIGHAR as necessary to keep
             Kiribati fully informed as to the status of each artefact.

      d.     TIGHAR shall make any artefact available to Kiribati for mspection during normal
             business hours and upon reasonable notice.

      e.     In the event that TIGHAR assembles a collection of artefacts capable of generating
             revenue in a museum display or travelling exhibit, TIGHAR shall notify Kiribati
             thereof and the parties shall negotiate in good faith to determine what portion of any
             display revenue shall be paid to Kiribati. No such display or exhibit may take place
             unless and until the agreement on revenue sharing has been concluded.

7.    Compliance with Kiribati law. While undertaking activities in Kiribati, TIGHAR, its
      employees and agents, and all experts or third parties operating under TIGHAR's authority
      will at all times conduct themselves in accordance with all relevant laws of Kiribati.

8.    Default hi the event that TIGHAR is m default of any of its obligations hereunder,
      Kiribati shall notify TIGHAR in writing and TIGHAR shall have a period of ninety (90)
       days from receipt of Kiribati's notice to cure said default If TIGHAR fails to cure said
       default within the time prescribed and no extensions have been granted, Kiribati may elect
       to terminate this Agreement.

9.     Notices. Notices shall be in writing and delivered by personal delivery, electronic mail, an
       express overnight service (such as Federal Express) or telecopier (with confirmation and
       concurrent mailing), addressed as set forth below or such other address designated by a
      party inwriting. Copies ofnotices shall go to the following persons (or their duly notified
       successors in office):

           For TIGHAR:

                Ric Gillespie
                Executive Director
                TIGHAR
                2812 Fawkes Drive
                Wilmington, DE 19808                  Facsimile No: +1-302-994 7945
                United States of America              Email: <ric@tighar.org>




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                 Bill Carter
                 Dean & Carter, PLLC
                 1112 Main Street #302
                 Boise, ID 83702                       FacsimUeNo.: +1-208-246 6363
                 United States of America              Email: <carter@dean-carterlaw.com>
           For Kiribati:

                 Secretary
                 Ministry of Environment, Lands and Agricultural Development
                 Post Office Box 234
                 Bikenibeu, South Tarawa               Facsimile No.: +686-28334
                 Republic of Kiribati                  Email: <information@environment.gov.ld>
                 Secretary
                 Ministry of ForeignAffairs and Immigration
                 Post Office Box 68
                 Bairiki, SouthTarawa                  Facsimile No.: +686-21466
                 RepubUc ofKiribati                    Email: <secretary@mfa.gov.ki>
                 Secretary
                 Ministry of Line and PhoenixIslands Development
                 Ronton, Kiritimati
                 Republic ofKiribati                   Facsimile No.: ;i-686-81278
10.   Entire Agreement.

      a.      This Agreement contains the entire agreement between the parties with regard to the
              subject matter of this Agreement and supersedes all prior agreements, arrangements,
              negotiations, and understandings, written or oral, relating to the subject matter hereof
      b.      This Agreement may not be changed or modified, in whole or in part, except by an
              instrument in writingsigned by both parties.

11. No Waiver. The failure ofeither party at any time or times to require performance ofany
      provision ofthis Agreement, or to exercise any right, shall in no manner affect the right at a
      later time to enforce the same. No waiver by either party of the breach of any term or
      covenant contained in this Agreement, whether by conduct or otherwise, in any one or
      more instances, shall be deemed to be, or construed as, a further or continuing waiver of
      any such breach, or awaiver ofthe breach ofany other term or covenant in this Agreement.
12. Assignment. Neither TIGHAR nor Kiribati may assign this Agreement, or any portion
      thereof, without priorwritten consent of the other.

13. Governing Law. This Agreement shall be governed and construed maccordance with the
      laws of the State of Delaware, United States of America, applicable to contracts entered
      into and fully performed therein vwthout giving effect to principles ofconflict oflaws. All
      claims must be brought exclusively in federal court in Delaware.

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14.    Dispute Resolution. The parties agree to use their best endeavours to reach an amicable
       settlement of any dispute that may arise under or relating to this Agreement, in order to
       avoid resorting to legal action.

15.    Severability. If any part of this Agreement is found by a court m Delaware to be
       unreasonable, then such part .shall be considered amended to the extent considered
       reasonable by the court and, as amended, shall be enforced; all remaining terms and
       conditions shaU contmue in full force and effect. The invalidity or xmenforceability of any
       provision or provisions of the Agreement shall not affect the validity or enforceability of
       any other provision ofthis Agreement, which shall remain in full force and effect.




        For The International Group For                For the Government of the
        Historic Aircraft Recovery, Inc.               Republic of Kiribati




                        Print name                                     Print name




                           fitie                                          Title




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